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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )     8:03CR446
                                     )
     v.                              )
                                     )
JOSE MARTIN PANDURO-AVENA,           )       ORDER
                                     )
     Defendant.                      )



     IT IS ORDERED,

     On the court’s own motion, the change of plea hearing is
continued to July 7, 2005 at 11:30 a.m.

     For this defendant, the time between today’s date and the
hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     Dated June 27, 2005.


                                   BY THE COURT


                                   s/    David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
